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                        Exhibit J
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 Present: The Honorable     STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                   Paul M. Cruz                                               N/A
                   Deputy Clerk                                     Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         N/A                                                      N/A
 Proceedings:            ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT’S
                         MOTION TO DISMISS, AND BIFURCATING PROCEEDINGS [30]


   I.      Introduction

        The County of Los Angeles brings this motion to dismiss Plaintiff’s First Amended Complaint
and to strike certain allegations from the Complaint. For the reasons articulated below, the Court
GRANTS in part and DENIES in part each of the County’s motions, and bifurcates proceedings going
forward to focus solely on the remaining federal claims.

   II.     Procedural Background

        Plaintiff initially filed this lawsuit on September 18, 2019. Dkt. 1. The County of Los Angeles
(“the County” or “Defendant”) filed an initial motion to dismiss on November 29, 2019, Dkt. 18, which
this Court granted for failure to oppose on January 2, 2020. Dkt. 26. Plaintiff filed a First Amended
Complaint (“FAC”) on January 24, 2020, and the County again filed a motion to dismiss. Dkt. 30.
Plaintiff’s FAC names as defendants the County, the Los Angeles Sheriff’s Department (“LASD”),
Sheriff James McDonell, former Sheriff’s Deputy Kenneth Collins (“Collins”), and ten Doe defendants.
Dkt. 28.




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    III.     Factual Background

        Plaintiff’s FAC alleges in relevant part that “on or about May 28, 2014,” Plaintiff was robbed of
$160,0001 by Defendant Collins, while Collins was employed by the LASD. Dkt. 28 at 9. Plaintiff
alleges Defendant Collins robbed a courier employed by Plaintiff in his jewelry business in the course of
a “fake traffic stop.”2 Id. Plaintiff alleges that while he was made aware of the May 28, 2014 theft and
contacted LASD in connection with it, and he was informed by LASD “that they had no information on
the wrongful seizure and/or no one had returned the money.” Id. at 12. Plaintiff then alleges that he
discovered video evidence of the theft by Collins from a local business and presented this video to
LASD. Id. Plaintiff alleges that LASD denied that the person in the video wearing an LASD uniform
was employed by the agency and denied that anyone from their agency took part in the theft “despite the
overwhelming video evidence.” Id. Plaintiff also alleges that LASD convinced him that no one from
their agency was involved in the theft. Id.

        Plaintiff then alleges that as retaliation for reporting the robbery, he became the target of a sting
operation and was visited by the FBI while at the Metropolitan Detention Center (“MDC”) in Los
Angeles. Id. at 9-10. He alleges that the FBI showed the same video Plaintiff had provided to LASD. Id.
at 10. Plaintiff also generally alleges the existence of “burglary rings” operating out of LASD. Id. at 3-4,
11. Plaintiff “is informed and believes” that these burglary rings stole additional money from his jewelry
business and home. Id. at 13. Plaintiff then alleges that in Fall 2016, May 2017, and Winter 2017, these
burglary rings stole property from his home and office. Id. at 13-14.

       Plaintiff asserts a total of ten causes of action against all Defendants in the action. Id. at 21-33.
These include claims for violation of the Fourth and Fifth Amendment pursuant to 42 U.S.C. § 1983, a
Monell liability claim, a substantive Due Process claim, “Honest Services Fraud via Mail/Wire Fraud,”
money laundering, common law fraud, conversion, intentional infliction of emotional distress, and

1
  The amount Defendant Collins allegedly robbed Plaintiff of is stated at various times to be between $150,000 and
$160,000. See Dkt. 28 at 11, 19.
2
  The Court takes judicial notice of the fact that Collins was later indicted for conspiracy to distribute controlled substances
based on allegations that he had provided security for drug trafficking while wearing his LASD badge and carrying a gun.
See USA v. Collins et al, 2:18-cr-00038-ODW Dkt. 1 (January 10, 2018). Collins later plead guilty to conspiracy to distribute
controlled substances. Id. at Dkt. 125.




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trespass against personal property. Id.

   IV.     Legal Standard

        A motion to dismiss under Rule 12(b)(6) challenges the legal sufficiency of the claims stated in
the complaint. See Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss, the plaintiff’s complaint
“must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its
face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S.
544, 570 (2007)). A claim is facially plausible “when the plaintiff pleads factual content that allows the
court to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id. at 678.
A complaint that offers mere “labels and conclusions” or “a formulaic recitation of the elements of a
cause of action will not do.” Id.; see also Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009)
(citing Iqbal, 556 U.S. at 678).

        In reviewing a Rule 12(b)(6) motion, a court “must accept as true all factual allegations in the
complaint and draw all reasonable inferences in favor of the nonmoving party.” Retail Prop. Trust v.
United Bhd. of Carpenters & Joiners of Am., 768 F.3d 938, 945 (9th Cir. 2014). Thus, “[w]hile legal
conclusions can provide the complaint’s framework, they must be supported by factual allegations.
When there are well-pleaded factual allegations, a court should assume their veracity and then determine
whether they plausibly give rise to an entitlement to relief.” Iqbal, 556 U.S. at 679. When evaluating the
sufficiency of a pleading under Rule 12(b)(6), a court may consider only the allegations in the complaint
and any attachments or documents incorporated by reference. Koala v. Khosla, 931 F.3d 887, 894 (9th
Cir. 2019); see also United States v. Ritchie, 342 F.3d 903, 907-08 (9th Cir. 2003).

   V.      Analysis

           a. Plaintiff’s factual allegations raise the possibility of equitable estoppel with regard to
              the Constitutional claims, preventing the Court from finding them to be time-barred at
              the pleading stage.

       The County asserts (correctly) that a two-year statute of limitations applies to § 1983 claims,
applying California law on personal injury actions to these claims. See Mills v. City of Covina, 921 F.3d




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1161, 1166 (9th Cir. 2019).3 Because Plaintiff alleges that he had knowledge of the theft, and video
footage allegedly of Defendant Collins, his cause of action accrued shortly after the May 28, 2014
incident allegedly occurred, and the County argues that he is time-barred from asserting these claims in
a lawsuit filed on September 18, 2019. Dkt. 31 at 8-9.

      However, Plaintiff’s FAC also includes specific allegations that LASD affirmatively misled him
when he attempted to pursue this claim at that time. In particular, Plaintiff alleges that:

                   “Soon after Mr. Nersoyan was made aware of the May 28, 2014 theft he contacted the
                    LASD only to be informed that they had no information on the wrongful seizure and/or
                    no one had returned the money.” Dkt. 28 at 12.
                   “The LASD denied that person in the LASD uniform, Deputy Collins, was employed by
                    their agency. In addition, the LASD denied anyone from their agency took part in the
                    theft despite the overwhelming video evidence which included an uniform LASD deputy
                    and a LASD squad car.” Id.
                   “The LASD convinced Mr. Nersoyan that no one from their agency was involved in the
                    theft.” Id.
                   “. . . due to the repeated denials of LASD, Mr. Nersoyan was convinced that the LASD
                    was not involved with the theft.” Id. at 13.
                   “LASD was well aware of the illegal seizure and never reached out to the Plaintiff to try
                    to right the wrong.” Id. at 20.

       The Ninth Circuit applies the doctrine of equitable estoppel to the statute of limitations for §
1983 claims. See Estate of Amaro v. City of Oakland, 653 F.3d 808, 813 (9th Cir. 2011) (finding that
equitable estoppel applies where the plaintiff believed she had a cause of action but was “dissuaded”

3
  Plaintiff’s argument that there is no statute of limitations on a § 1983 claim because the statutory language itself does not
contain such language is erroneous. See Canatella v. Van De Kamp, 486 F.3d 1128, 1132 (9th Cir. 2007) (“For actions under
42 U.S.C. § 1983 . . . courts apply the forum state's statute of limitations for personal injury actions, along with the forum
state's law regarding tolling, including equitable tolling, except to the extent any of these laws is inconsistent with federal
law.”).




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from bringing the claim based on defendant’s affirmative misrepresentations and stonewalling within the
limitations period). In the Ninth Circuit, a plaintiff must plead the following elements of equitable
estoppel:

                (1) knowledge of the true facts by the party to be estopped, (2) intent to induce
        reliance or actions giving rise to a belief in that intent, (3) ignorance of the true facts by
        the relying party, and (4) detrimental reliance.

Id. (citing Bolt v. United States, 944 F.2d 603, 609 (9th Cir. 1991). When estoppel is sought against the
government, “there must be affirmative misconduct (not mere negligence) and a serious injustice
outweighing the damage to the public interest of estopping the government.” Id.

        The Court finds at the pleading stage, and after construing all inferences in the light most
favorable to Plaintiff, that he has sufficiently pled these elements. Accepting Plaintiff’s factual
allegations as true, each of the necessary elements is reasonably pled, as discussed above. Plaintiff will
have the burden of establishing based on actual evidence that this exception applies to his otherwise
time-barred claims under § 1983 at summary judgment.

        Defendant’s argument that the claim for Monell liability must be dismissed because Plaintiff
states only conclusory assertions regarding a “policy or practice” overstates what Plaintiff must allege at
the pleading stage to state a claim in this circuit. Dkt. 30 at 11-13. Defendants cite to AE ex rel.
Hernandez v. Cty. of Tulare, 666 F.3d 631, 637 (9th Cir. 2012) for the proposition that Plaintiff must
“put forth additional facts regarding the specific nature of this alleged “policy, custom or practice.” Id.
But the complaint in that case did no more than allege that those defendants “maintained or permitted an
official policy, custom or practice of knowingly permitting the occurrence of the type of wrongs” related
to “the custody, care and protection of dependent minors....” Id. In contrast, Plaintiff specifically alleges
that LASD recognized a custom, policy, and practice of:

        (a) employing and retaining as sheriff deputy and other personnel, including Collins,
        County, LASD, McDonnell and DOES 1-10 at all times material herein knew or
        reasonably should have known had dangerous propensities for abusing their authority and
        for mistreating citizens by failing to follow written LASD policies;




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        (b) inadequately supervising, training, controlling, assigning and disciplining LASD
        deputy and other personnel, including Collins, County, LASD, McDonnell and DOES 1-
        10 each knew or in the exercise of reasonable care should have known the
        aforementioned propensities and character traits;
        (c) maintaining grossly inadequate procedures for reporting, supervising, investigating,
        reviewing, controlling and disciplining the intentional conduct by LASD deputies and
        other personnel, including Collins and McDonnell who are LASD employees;
        (d) Failing to adequately train, supervise, and control its officers in the collection,
        documentation, and retention of evidence; and
        (e) Condoning, ratifying, and encouraging the theft of personal property in the course of
        official investigations.

Dkt. 28 at 28-29. This is sufficient factual content, viewed in the light most favorable to Plaintiff, to
constitute “plausible facts supporting a policy or custom” that might give rise to Monell liability. See
Winger v. City of Garden Grove, 2013 WL 12376992, at *4 (C.D. Cal. Aug. 12, 2013) (finding similar
factual allegations to be specific enough to survive a motion to dismiss); Lazzeretti v. City of Burbank,
2020 WL 2891901, at *5 (C.D. Cal. Feb. 20, 2020) (“It is sufficient under Rule 8 that Plaintiff has
alleged facts about the specific nature of the policies to allow the City to focus its defense on those
particular policies.”).

        However, Plaintiff’s non-Monell claims, which appear to be asserted directly against the County
and LASD for violations of the Fourth Amendment, Fifth Amendment, and substantive due process are
solely premised on the alleged theft carried out by Defendant Collins. See Dkt. 28 at 21-22, 25-26.
Although Plaintiff asserts that “the County is responsible for the misconduct of its employees acting
under color of law,” a municipality is not liable under any theory of respondeat superior for the actions
of a government employee like Defendant Collins. See AE ex rel. Hernandez, 666 F.3d 631 at 636
(“Section 1983 suits against local governments alleging constitutional rights violations by government
officials cannot rely solely on respondeat superior liability.”); see also Monell v. Dep't of Soc. Servs.,
436 U.S. 658, 691 (1978). Accordingly, the Court GRANTS Defendant’s motion to dismiss with regard
to the claims alleging direct violation of Plaintiff’s Fourth Amendment, Fifth Amendment, and
substantive due process rights with respect to the County and the LASD.




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           b. Plaintiff’s burglary allegations are not sufficient to state a claim.

        Plaintiff’s FAC also contains a series of nearly-identical allegations stating that purported
burglary rings run by LASD stole property from Plaintiff on three separate occasions from Fall 2016
through May 2017. Dkt. 28 at 13-14. With respect to each of those incidents, Plaintiff solely alleges that
(1) a burglary occurred, (2) he is informed and believes that an LASD burglary ring was responsible,
and (3) no arrests were made. Id. The Court finds that these bare, conclusory allegations, absent any
specific factual allegations tying these alleged burglaries to the conduct of LASD officers, are
insufficient to “state a claim to relief that is plausible on its face.” Iqbal, 556 U.S. at 678 (2009). The
Court GRANTS Defendant’s motion to dismiss to the extent Plaintiff seeks to assert any of his
constitutional claims based on this alleged conduct. The Court will focus solely on claims arising from
the alleged May 28, 2014 theft by Defendant Collins of money belonging to Plaintiff.

           c. Plaintiff’s other federal causes of action lack a private right of action.

        Plaintiff alleges a cause of action for “Honest Services Fraud via Mail/Wire Fraud” and for
“Money Laundering.” Dkt. 28 at 22-24. Although he does not expressly reference a federal statute in
connection with either cause of action, he alleges in his jurisdictional pleadings that he brings these
claims pursuant to the “federal statutes of money laundering, honest services fraud, wire fraud, mail
fraud.” Id. at 6.

        None of the referenced federal statutes give rise to a private right of action that Plaintiff can
independently assert. See Aaronson v. Kangarani, 2019 WL 3490447, at *3 (D. Or. June 20, 2019)
(collecting cases finding that the federal money laundering and wire fraud statutes do not provide for a
private right of action); Kent v. Century Manor Tr. Ltd, 2019 WL 5596481, at *4 (E.D. Cal. Oct. 30,
2019) (“Title 18 of the United States Code does not establish any private right of action and cannot
support a civil lawsuit.”); Mack v. California, 2019 WL 7877391, at *5 (C.D. Cal. Aug. 9, 2019) (no
private right of action for alleged violation of 18 U.S.C. § 1346). Each of Plaintiff’s federal causes of
action for alleged mail fraud, wire fraud, honest services fraud, and money laundering constitutes a
criminal cause of action that cannot be asserted by a civil plaintiff. Defendant’s motion to dismiss is
GRANTED with regard to these claims.




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           d. The Court will bifurcate proceedings, and first address the remaining federal claims.

         The Court will act in its discretion to bifurcate proceedings going forward and focus solely on
the § 1983 claims Plaintiff asserts in this lawsuit for violation of the Fourth and Fifth Amendments, the
Monell claim against the County and LASD, and the alleged violation of his substantive due process
rights. Accordingly, the Court declines to consider Defendant’s arguments related to the claims arising
under California law at this juncture, without prejudice to Defendant’s ability to raise those arguments at
a later date.

   VI.     Defendant’s Motion to Strike

        Defendant also seeks to have certain factual allegations stricken, arguing that Plaintiff
improperly seeks punitive damages from the County, a public entity, and argues that certain factual
allegations are wholly unrelated to the causes of action alleged by Plaintiff and must be stricken. Dkt. 30
at 18-19.

        A motion to strike pursuant to Rule 12(f) allows a court to strike “from any pleading any
insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P.
12(f). “[T]he function of a 12(f) motion to strike is to avoid the expenditure of time and money that must
arise from litigating spurious issues by dispensing with those issues prior to trial[.]” Whittlestone, Inc. v.
Handi-Craft, Co., 618 F.3d 970, 973 (9th Cir. 2010) (quoting Fantasy, Inc. v. Fogerty, 984 F.2d 1524,
1527 (9th Cir. 1993)).

         Defendant is correct that the Court cannot award punitive damages to Plaintiff against the
County, a public entity. See Cal. Govt.Code § 818 (“Notwithstanding any other provision of law, a
public entity is not liable for damages awarded under § 3294 of the Civil Code of other damages
imposed primarily for the sake of example and by way of punishing the defendant.”); Newport v. Fact
Concerts Inc., 453 U.S. 247, 271 (1981) (“[A] municipality is immune from punitive damages under 42
U.S.C. § 1983.”). However, the Ninth Circuit has specifically held that “Rule 12(f) does not authorize
district courts to strike claims for damages on the ground that such claims are precluded as a matter of
law.” Whittlestone, 618 F.3d at 974. The Court must DENY the motion on this basis with regard to that
allegation.




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        With regard to the allegedly immaterial allegations included in the FAC, the Court agrees with
Defendant, but solely with regard to paragraphs 55, 58, 60, and 61. The other allegations have plausible
relevance to the Monell claims that hinge on a “policy, practice, or custom” of the County and LASD
with respect to criminal conduct by LASD officers. The Court GRANTS Defendant’s motion to strike
the allegations listed above.

       VII.    Conclusion

        Defendant’s motion is GRANTED with respect to Plaintiff’s claims for wire and mail fraud, and
money laundering against all Defendants. Defendant’s motion is GRANTED with respect to the County
and LASD with regard to Plaintiff’s claims for violation of his rights under the Fourth Amendment,
Fifth Amendment, and his substantive due process rights. Defendant’s motion is DENIED with regard to
their argument that all § 1983 claims are time-barred, and is DENIED with regard to the Monell claim.
The dismissal of Plaintiff’s claims for mail fraud, wire fraud, honest services fraud, and money
laundering is with prejudice, because amendment would be futile given Plaintiff’s inability to enforce
criminal statutes. Dismissal of Defendant’s non-Monell § 1983 claims against the County and the LASD
is also with prejudice, because these entities cannot be held directly liable for constitutional violations
by their employees.4

        Defendant’s motion to strike is GRANTED in part, with regard to paragraphs 55, 58, 60, and 61
of the FAC. The Court orders these allegations stricken from the record.




4
  The Court also notes that although Plaintiff’s FAC appears to assert claims against Sheriff James McDonnell (“Sheriff
McDonnell”) in his individual capacity, there is no indication on the docket that Sheriff McDonnell has been served in his
personal capacity. See Crowley v. Bannister, 734 F.3d 967, 975 (9th Cir. 2013) (“Neither actual notice, nor simply naming
the person in the caption of the complaint, will subject defendants to personal jurisdiction if service was not made in
substantial compliance with Rule 4.”). The Court instructs Plaintiff to serve Sheriff McDonnell personally if he wishes to
pursue claims against him in his individual capacity. If Plaintiff fails to do so within 30 days, the Court will dismiss these
claims without prejudice. Fed. R. Civ. P. 4(m).




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